

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-36,232-02






EX PARTE DANIEL KELLER, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 924217-B IN THE 147TH DISTRICT COURT


FROM TRAVIS COUNTY






	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated sexual
assault of a child and sentenced to forty-eight years' imprisonment.  The Third Court of Appeals
affirmed his conviction. Keller v. State, No. 03-92-00603-CR (Tex. App.--Austin Oct. 26,
1994)(unpublished).

	Applicant has filed an unopposed motion to remand the application to conduct further
investigation regarding his claims of actual innocence. We remand this application to the 147th 
District Court of Travis County to allow the trial judge to complete an evidentiary investigation and
enter findings of fact and conclusions of law.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be forwarded to this Court within 120 days of the date of this order.  Any extensions of time shall
be obtained from this Court. 


Filed:  February 26, 2014

Do not publish 


	


